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Exhibit B
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UNITED STATES DISTRICT COURT
FOR THE

DISTRICT OF MASSACHUSETTS

SONYA LARSON
Civil Action No.

Plaintiff,
Vv. 1:19-cv-10203-IT

DAWN DORLAND PERRY, et al.

Defendants.

AFFIDAVIT OF ANDREW D. EPSTEIN IN SUPPORT OF PLAINTIFF, DEFENDANT
IN COUNTERCLAIM, SONYA LARSON’S EMERGENCY MOTION TO COMPEL

I, Andrew D. Epstein, on oath depose and state as follows:

1. I searched the Internet under Dorland’s name to see if I could find examples of
things that Ms. Dorland has written and published. Except for a reference to a novel that Ms.
Dorland claims that she has been working on for quite some time, I could not find anything.

3, I searched through some Facebook comments that Ms. Dorland has previously
produced. I counted the names of over 70 individuals who were part of Ms. Dorland’s Facebook
group. These individuals were people who commented on Ms. Dorland’s surgery.

Signed under the pains and penalties of perjury

is.Sth day of April 2021.
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